 Case 3:19-cr-00083-M Document 452 Filed 07/15/22         Page 1 of 4 PageID 19251



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )   No. 3:19-cr-083-M-1
                                           )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                           )




MR. HAMILTON’S MOTION TO DELAY HIS SURRENDER DATE BY TWO-WEEKS
                 TO ADDRESS A CANCER CONCERN




Abbe David Lowell, Bar No. 358651DC            Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC           WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC            2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                           Dallas, TX 75201
1901 L Street, NW                              DRobbins@winston.com
Washington, DC 20036                           214-453-6100 (ph)
ADLowell@winston.com                           214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)




                        Counsel for Defendant Ruel M. Hamilton
    Case 3:19-cr-00083-M Document 452 Filed 07/15/22            Page 2 of 4 PageID 19252



        Mr. Hamilton appreciates this Court’s prior willingness to extend his surrender date to

accommodate his open-heart surgery and rehabilitation, which has gone well, but he asks this

Court’s indulgence hopefully one last time to address a significant cancer concern that was

discovered during an MRI yesterday. (See Ex., 7/14/22 Ltr. from Dr. Stark-Vance with MRI

Report.) As the Court is aware, Mr. Hamilton also has had considerable back pain due to an

abnormal masse along his spine. That masse has continued to cause Mr. Hamilton pain, so his

doctor had an MRI performed yesterday. In doing so, there was an alarming discovery. A lymph

node in Mr. Hamilton’s back that appeared normal in previous scans had grown to about 3 cm,

which is a significant increase in a short amount of time, and it has taken on a shape that the

neuroradiologist verbally described as “gnarly.” There is a second 2 cm abnormal lymph node

visible near this one as well.

        Given the sudden growth, current size, and abnormal shape of these lymph nodes – as well

as Mr. Hamilton’s prior near death experience with cancer – his doctor would like to arrange a

PET scan in the next few days and will likely want to conduct a biopsy (which is difficult given

its location). Mr. Hamilton is scheduled for a CT scan later today. As Dr. Stark-Vance explains,

under the circumstances, “a recurrence in a cancer patient such as Mr. Hamilton must be taken

very seriously.”

        Mr. Hamilton should not require much time to complete the PET scan and biopsy, but it

cannot be completed by his current surrender date of next Tuesday, July 19, 2022. Accordingly,

Mr. Hamilton asks that the Court extend his reporting date by two weeks, until August 2, 2022,

and to permit his ankle monitor to be removed during the PET scan and biopsy (if necessary). 1



1
 As the Court may know, Mr. Hamilton’s oral argument before the Fifth Circuit was held on July
8, 2022. Following oral argument, Mr. Hamilton filed an opposed motion with that Court to renew
his motion for release pending appeal. The Fifth Circuit ordered an expedited briefing schedule
                                               1
 Case 3:19-cr-00083-M Document 452 Filed 07/15/22                  Page 3 of 4 PageID 19253



       The government’s position on the motion is unclear. The defense only yesterday learned

of this concern that Mr. Hamilton’s cancer may have returned and we have sought to move quickly

to raise this issue with the Court, particularly given Tuesday’s surrender date. The defense sought

to file this motion yesterday, but the government indicated that it had insufficient information to

agree to the request because, at that time, the defense had not yet provided the government with a

letter from the doctor and the PET scan had not been scheduled yet. Later that evening, around

5:30 PM Dallas time, the defense did provide the government with the attached letter from Dr.

Stark-Vance and Mr. Hamilton’s MRI Report, including Dr. Stark-Vance’s representation that “the

PET scan will be completed in the next few days.” Although we hope these materials satisfy the

government’s concerns, we have not heard back from the government on this issue. The defense

wanted to get this motion before the Court as early as possible this morning so that the Court had

adequate time to consider this time-sensitive matter.

Dated: July 15, 2022

                                     Respectfully submitted,

/s/ Christopher D. Man
Abbe David Lowell, Bar No. 358651DC                     Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC                    WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC                     2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                                    Dallas, TX 75201
1901 L Street, NW                                       DRobbins@winston.com
Washington, DC 20036                                    214-453-6100 (ph)
ADLowell@winston.com                                    214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)


                            Counsel for Defendant Ruel M. Hamilton


with the final brief due today at noon, July 15, 2022. A prompt ruling by the Fifth Circuit in Mr.
Hamilton’s favor may moot this request in some respects, but regardless of how the Fifth Circuit
rules on that motion or when, Mr. Hamilton will need this Court’s permission to have his ankle
monitor removed for the medical procedures.
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 Case 3:19-cr-00083-M Document 452 Filed 07/15/22                   Page 4 of 4 PageID 19254



                                 CERTIFICATE OF SERVICE

       I certify that on July 15, 2022, a copy of the foregoing was filed with the Court’s electronic

case filing system, thereby effecting service on counsel for all parties.

                                       /s/ Christopher D. Man
                                       Christopher D. Man




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